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                         IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                    LUFKIN DIVISION


                                       REFERRAL ORDER


 Pursuant to 28 U.S.C. 636 and Local Rule CV-72, the undersigned hereby REFERS the cases set

forth below to U.S. Magistrate Judge Christine L. Stetson for all pretrial proceedings.

9:15-cv-00057-RC-KFG                           Bailey v. Healthsouth Corporation et al

9:16-cv-00046-RC-KFG                           MFC Commodities GmbH v. Texas Pellets,Inc.

9:17-cv-00184-RC-KFG                           Blake v. Thompson et al

9:18-cv-00139-RC-KFG                           Skinner v. Collier et al

9:18-cv-00225-RC-KFG                           Parker v. Shelby County et al

9:19-cv-00072-RC-KFG                           Scranton v. Farrell

9:19-cv-00093-RC-KFG                           Favela v. Collier et al

9:19-cv-00111-RC-KFG                           Boyd v. Director , TDCJ-CID

9:19-cv-00146-RC-KFG                           Schuff v. Perkins et al

9:19-cv-00158-RC-KFG                           Beaver v. Director, TDCJ-CID

9:19-cv-00166-RC-KFG                           Barton v. Rhodes et al

9:19-cv-00190-RC-KFG                           Novak, Jr. v. Sessum et al

9:19-cv-00212-RC-KFG                           Hicks v. Seales et al

9:19-cv-00223-RC-KFG                           Max-George v. Equifax Information Services,LLC

9:19-cv-00229-RC-KFG                           Munoz, Sr. v. Davis et al

9:20-cv-00006-RC-KFG                           Tennell v. Taylor et al

9:20-cv-00012-RC-KFG                           Vessell v. Lamb et al

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9:20-cv-00019-RC-KFG                Clay v. Hanson et al

9:20-cv-00020-RC-KFG                Crawford v. Texas Department of Criminal
                                          Justice et al

9:20-cv-00025-RC-KFG                Curry v. Holcomb

9:20-cv-00034-RC-KFG                Mickey et al v. Deutsche Bank National Trust
                                          Company et al

9:20-cv-00036-RC-KFG                Grizzle v. Davis et al

9:20-cv-00043-RC-KFG                Herrera v. Davis et al

9:20-cv-00049-RC-KFG                Tabler v. Davis

9:20-cv-00056-RC-KFG                Reynolds v. Rhodes et al

9:20-cv-00066-RC-KFG                Murphy v. Commissioner, SSA

9:20-cv-00092-RC-KFG                Moore v. Duff et al

9:20-cv-00121-RC-KFG                Moore v. Lindley et al

9:20-cv-00135-RC-KFG                Almaguer v. Saul

9:20-cv-00140-RC-KFG                Rodriguez, Jr. v. Touhami et al

9:20-cv-00149-RC-KFG                Garrett v. Lopez

9:20-cv-00154-RC-KFG                Thunderhorse v. Woods

9:20-cv-00163-RC-KFG                Thomas v. Director, TDCJ-CID

9:20-cv-00188-RC-KFG                Grant v. Jackson et al

9:20-cv-00189-RC-KFG                Thornton v. Fayankinnu et al

9:20-cv-00210-RC-KFG                Barefield v. Bush et al

9:20-cv-00226-RC-KFG                Collins v. United States

9:20-cv-00239-RC-KFG                Knowlton v. Commissioner of Social Security




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9:20-cv-00249-RC-KFG                Jones v. Texas Department of Criminal Justice
                                           - Correctional Institutional Division(CID)

9:20-cv-00254-RC-KFG                Kerns vs Commissioner, SSA

9:21-cv-00003-RC-KFG                Neal v. Reed et al

9:21-cv-00024-RC-KFG                Martin v. Glover et al

9:21-cv-00031-RC-KFG                Daniels v. Georgia Pacific Corporation

9:21-cv-00033-RC-KFG                Phillips v. C R Bard Incorporated et al

9:21-cv-00043-RC-KFG                Craig v. American Honda Motor Co.

9:21-cv-00046-RC-KFG                Johnson v. Guiterrez et al

9:21-cv-00049-RC-KFG                Rhodes v. Director, TDCJ-CID

9:21-cv-00056-RC-KFG                Richard v. LaRule et al

9:21-cv-00062-RC-KFG                Delarosa v. Director, TDCJ-CID

9:21-cv-00067-RC-KFG                Spencer v. Saul

9:21-cv-00074-RC-KFG                Sizemore v. Commissioner of Social Security

9:21-cv-00076-RC-KFG                Hapney v. Commissioner of Social Security

9:21-cv-00079-RC-KFG                Flores v. Lumpkin et al

9:21-cv-00082-RC-KFG                Papillion v. Dickerson et al

9:21-cv-00098-RC-KFG                United States of America v. $1,030.00 in
                                          United States Currency

9:21-cv-00104-RC-KFG                Stewart v. Commissioner of SSA

9:21-cv-00109-RC-KFG                Hughes v. Warden Perez et al

9:21-cv-00119-RC-KFG                Komatsu America Corp. v. HC Oilfield
                                         Services, LLC et al

9:21-cv-00126-RC-KFG                Gomez v. Camaro Inc. et al

9:21-cv-00130-RC-KFG                Dixon v. McDanial et al

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9:21-cv-00131-RC-KFG                 Dewalt, Jr v. Officer Sims

9:21-cv-00135-RC-KFG                 Sanchez v. Lumpkin et al

9:21-cv-00137-RC-KFG                 Munoz, Sr. v. Gonzalez, Jr. et al

9:21-cv-00139-RC-KFG                 Wooten v. Williams et al

    So ORDERED and SIGNED, September 17, 2021.


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                                             Ron Clark
                                             Senior Judge




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